                                    Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 1 of 41




                                1
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                                7
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                                8    WILKJNS & BERGER
                                9
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                                                                                                                   (
                            10       (406) 538-9272
                            11       Attorney for Plaintiff

                            12

                            13                     MONTANA SECOND JUDICIAL DISTRICT COURT,
     --                             ~~~~~~~~~
                                                            SIL VER BOW COUNTY
                            14

                            15       GINA JAEGER, individually, AND AS
                                     PERSONAL REPRESENTATIVE OF THE
                                                                              Cause No.   tl/-   //r; - /'5ft
                            16       ESTATE OF HER SISTER CHARLENE
                                     HILL,
                            17                                                      COMPLAINT/
                                                      Plaintiff,                    DEMAND FOR
                            18
                                                                                     .fURYTRIAL
                           19                vs.

                           20        GENESIS HEALTHCARE, INC.,
                                     d/b/a THE BUTTE CENTER,
                           21        JOHN DOE LLC's 1-10;
                                     JOHN DOE, INC., 1-10
                           22
                           23                        Defendants.
                           24

                           25        Plaintiff alleges:

                           26              1. Charlene Hill (Charlene) was accepted and admitted to a skilled

  TORGER S. OAAS
   ATTO~NEV     Ai LAW                                               ,.-~!!"!!l!!!,1!!--.iOmplaint I Jury Demand
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                                    Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 2 of 41




                                1
                                              nursing facility located in Butte, MT. The skilled nursing facility is
                                2

                                3             known as the "Butte Center" and is licensed by the Montana

                                4             Department of Health & Human Services under that name, license#
                                5
                                              13066.
                                6
                                           2. The Butte Center is owned and operated under the control of

                                              Defendant Genesis Healthcare, Inc., a corporation organized under
                                9
                                              the laws of the State of Delaware.
                               10

                               11          3. Genesis Healthcare, Inc. describes itself as one of the largest skilled
                               12             nursing care providers with more than 400 skilled nursing centers
                           13
                                              and senior living residences in 28 states nationwide. Genesis also
                           14

                           15                 supplies rehabilitation services to nearly 1,500 healthcare providers

                           18                 in 46 states and the District of Columbia.
                           17
                                          4. Charlene was admitted to the Butte Center on 8/13/2015.                   On
                           18

                           19                 8/25/2015, Charlene was transported by ambulance to St. James

                           20
                                             Hospital in Butte, MT where the following conditions were
                           21
                                              diagnosed:
                          22
                          23                           a.   Pneumonia
                                                       b.   Two infected pressure sores
                          24
                                                       c.   Cel!ulitis
                          25'                          d.   Yeast infection
                                                       e.   Dehydration
                          28
                                                       f.   Sepsis
                                                       g.   Septic shock
 TORGEA S, OAAS
  ATffiRNE'Y AT LAW
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                                 Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 3 of 41




                             1
                                           She did not have any of these health conditions when she was
                             2

                             3             admitted to the Butte Center on 8/13/2015.

                             4         5. On 8/25/2015, shortly after her admission to St. James Hospital,
                             5
                                          Charlene suffered a cardiac event from which she never regained
                             6

                             7            consciousness. Charlene remained on life support until September

                             8            2"d, 2015 at which time life support was withdrawn and Charlene
                             9
                                          died.
                          10

                          11           6. Defendant was negligent in the care provided to Charlene, including
                          12              but not limited to:
                          13
                                                    a. Violations ofCFR § 483.25 which states:
                          14

                          15                              "Each resident must receive and the facility must
                                                          provide the necessary care and services to attain or
                         16
                                                          maintain the highest practicable physical, mental,
                         17                               and psychosocial well-being, in accordance with the
                                                          comprehensive assessment and plan of care."
                         18

                         19                        b. Violations ofCFR § 483.25(c) which states:
                        20
                                                           "Based on the comprehensive assessment of a
                        21                                resident, the facility must ensure that (1) A resident
                                                          who enters the facility without pressure sores does
                        22
                                                          not develop pressure sores unless the individual's
                        23                                clinical condition demonstrates that they were
                                                          unavoidable; and (2) A resident having pressure
                        24
                                                          sores receives necessary treatment and services to
                        25                                promote healing, prevent infection and prevent new
                                                          sores from developing."
                        26

                                                   c. Violations of CFR § 483.25(j) which states:
  TOR.GERS. OAAS
  A.TTORN&!Y AT LAW
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                                     Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 4 of 41




                                 1
                                                              "The facility must provide each resident with
                             2                                sufficient fluid intake to maintain proper hydration
                             3
                                                              and health."

                             4                         d. Violations ofCFR § 483.30 which states:
                             5
                                                              "The facility must have sufficient nursing staff to
                             6                                provide nursing and related services to attain or
                             7                                maintain the highest practicable physical, mental,
                                                              and psychosocial well-being of each resident, as
                             8
                                                              determined by resident assessments and individual
                             9                                plans of care."
                            10                        e. Violations ofCFR § 483.65 which states:
                            11
                                                              "The facility must establish and maintain an
                            12
                                                              infection control program designed to provide a
                            13                                safe, sanitary, and comfortable environment and to
                                                              help prevent the development and transmission of
                            14
                                                              disease· and infection."
                            15
                                                      f. Violations ofCFR § 483.75 which states:
                            16

                            17                                "A facility must be administered in a manner that
                                                              enables it to use its resources effectively and
                                                              efficiently to attain or maintain the highest
                                                              practicable physical, mental, and psychosocial well-
                                                              being of each resident."
                            20

                            21                        g. Breach of the general standard of care for Charlene Hill
                            22
                                                      h. Failure to have proper equipment and trained personnel
                            23
                                                           to care for a morbidly obese resident
                            24
                            25                        1.   Violations ofCFR § 483.20 which states:
                            28
                                                              "The facility must conduct initially and periodically
                                                              a    comprehensive,      accurate,      standardized,
  TOftGEA S. OAAS
  ATIORNE:V AT LAW
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                                  Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 5 of 41




                              1
                                                                     reproducible assessment        of   each    resident's
                              2                                      functional capacity"
                              3

                              4                  7. Charlene's remains were autopsied by Jaime L. Oeberst, M.D.,
                              5
                                                     Montana's Chief Medical Examiner. Dr. Oeberst concluded that the
                              6

                              7                      cause of Charlene's death was septic shock.

                              8

                              9
                                    Count 1: Direct Corporate Liability
                             10

                             11                  Defendant Genesis Healthcare, Inc. exerts sufficient control over the
                             12    operations of the Butte Center to make it legally responsible for the personal
                             13
                                   injuries and wrongful death of Charlene Hill.
                         14

                         15

                         16        Count 2: Vicarious Corporate Liability
                         17
                                                 Genesis Healthcare, Inc. is responsible for the negligence of the Butte
                         18

                         19       Center employees as set out above on the basis of respondent superior.
                         20

                         21
                                  Count 3: Liability of the Butte Center
                         22
                         23                      The "Butte Center'' is also liable for the negligence of its employees as
                         24
                                  set out above which caused the personal injuries and wrongful death of
                         25
                                  Charlene Hill.
                         26

 TORGE.A S. OAAS
  ATTORNllY AT LAW
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                                        Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 6 of 41




                                    1
                                         Count 4:

                                3              The conduct of the Butte Center and Genesis Healthcare, Inc. as
                                4        described herein is willful and wanton and Defendant is liable for their willful
                                5
                                         and wanton conduct.
                                6

                                7

                                8        Count 5: Constructive Fraud
                                9
                                               Defendants owed a general duty of care to Charlene Hill. Defendants
                               10

                               11       also owed specific duties of care as set forth in the federal regulations set
                               12
                                        forth verbatim in this complaint. Defendants told Charlene Hill in writing
                               13
                                        that they would provide quality clinical care and be dedicated to meeting and
                               14

                               15       exceeding the needs of its patients.     In the case of Charlene Hill, these

                               16       statements were false and Defendant's false representations caused Plaintiff to
                               17
                                        suffer damage and death as set forth herein.
                           18

                           19

                           20
                                        Count 6: Liability for Punitive Damages
                           21

                           22
                                              Plaintiff asserts a punitive damage claim against defendant based. upon

                           23           the standards set forth in 27-1-221, MCA.
                           24

                           25

                           26


  IORG.ER S. 0AA6
  ATTORNEY AT LAW
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                                    Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 7 of 41




                               1
                                     Relief Requested
                               2
                                          l.    Compensation for all damages allowed under Montana law for
                               ,3

                               4          wrongful death and survivorship claims;
                               5
                                          2.    For punitive damages as determined by the jury;
                               6
                                          3.    For Plaintiff's costs of suit;
                               7
                               81         4.    For such other relief as the Court deems proper.


                           10
                               9
                                                DATED this      ~\    day of April, 2016.

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                           14

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                           18;

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                          26


 TOrnSEA S. OAAS
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Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 8 of 41




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  Attorney for Plaintiff


               M01'ff ANA SECOND JUDICIAL DIS1RICT COURT,
                           SILVER BOW COUNTY

  GINA JAEGER, individually, AND AS            Cause No. w   -/{; -- JS-(,,
  PERSONAL REPRESENTA'DVE OF THE
  ESTATE OF HER SISTER CHARLENE
  HILL,
                                                     SUMMONS
                  Plaintiff,

         vs.

  GENESIS HEALTHCARE, INC.,
  dlbla THE BUTTE CENTER,
  JOHNDOELLC's 1-10;
  JOHN DOE, INC., 1-10

                 Defendants.
 --------------~-



 TO: GENESIS HEALTHCARE, INC., d/b/a THE BUTTE CENTER,
 JOHN DOE LLC's 1-10; JOHN DOE, INC., 1-10

       A lawsuit has been filed against you.

                                                                              Su.-rnrnons
                                                                  Page l of 2
Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 9 of 41




         Within 21 days after service of this Summons on you (not counting the
  day you received it) you must serve on the Plaintiff an answer to the attached
  Complaint or a motion under Rule 12 of the Montana Rules of Civil
  Procedure. Do not include the day you were served in your calculation of
  time. The answer or motion must be served on the Plaintiff or Plaintiff's
  attorney, if Plaintiff is represented by an attorney, whose name and address is:

          TORGEROAAS
          Attorney at Law
          P.O. Box 76
          Lewistown, MT 59457
                Telephone: (406) 538-2338

        If you fail to respond, judgment by default will be entered against you
 for the relief demanded in the Complaint.
        You also must file your answer or motion with the Court.

 Dated this U""' day of April, 2016.



                                        CLERK OF THE DISTRICT COURT
 (Seal)
                                          LORiMALONEY

                                 By:     r.   1101.,.........




                                                                         Summons
                                                                  Page 2 of 2
                  Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 10 of 41
'   'l        ,




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          Attorneys for Peak Medical Montana Operations, LLC, d/b/a Butte Center



                  MONTANA SECOND JUDICIAL DISTRICT COURT, SILVER BOW COUNTY
          GINA JAEGER, individually, AND AS  )             Cause No. DV-16-156
          PERSONAL REPRESENTATIVE OF THE     )
          ESTATE OF HER SISTER CHARLENE HILL,)
                                                       )
                        Plaintiffs,                    )   PEAK MEDICAL MONTANA
                                                       )   OPERATIONS, LLC, D/B/A
                  vs.                                  )   BUTTE CENTER'S ANSWER TO
                                                       )   PLAINTIFFS' COMPLAINT/DEMAND
         GENESIS HEALTHCARE, INC., d/bla THE           )   FOR JURY TRIAL
         BUTTE CENTER, JOHN DOE LLC's 1-10;            )
         JOHN DOE, INC., 1-10                          )
                                                       )
                        Defendants.                    )



         II

         II

         II




                                                           I P,
                                                               EXHIBIT
                                                                                   c
                                                                                                     .. .. .. I


         Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 11 of 41




        Defendant Peak Medical Montana Operations, LLC, d!b/a Butte Center ("PMMO"),

improperly identified in the caption as "Genesis Healthcm·e, Inc., d/b/a The Butte Center,"

hereby Answers Plaintiffs' Complaint/Demand for Jury Trial as follows: 1

        1.       Denies each and every allegation contained in the Complaint except as expressly

admitted herein.

        2.       Admits the allegations contained in 1J 1.

        3.       Admits that Genesis Healthcm-e, Inc., is a cmporation organized lmdcr the laws of

the State of Delaware and denies the remaining allegations contained in 1J 2.

        4.       The allegations in 1J 3 are not directed to PMMO and, therefore, no response is

required. To the extent a response is required, PMMO lacks sufficient knowledge or information

as to the truth of the allegations and therefore denies the allegations contained in 1J 3.

        5.        Admits Ms. Hill was admitted to the Butte Center on August 13, 2015 and that

she was transported by ambulance to St. James Hospital on Augiist 25, 2015. PMMO denies the

remaining allegations in 1J 4, including the characterization of her diagnosis.

        6.        Admits Ms. Hill was admitted to St. James Hospital on August 25, 2015, had an

event, and passed away on September 2, 2015. PMMO denies the remaining allegations

contained in 1[ 5.

         7.       Denies 1J 6 and all its subparts. PMMO further denies that the care provided to

Ms. Hill was negligent. PMMO denies any violation of any of the sections of the Code of

Federal Regulations ("CFR") identified in 1J 6 and affirmatively states that CFR sections speak


' Plaintiffs improperly conflate the "Butte Centet' and a completely separate entity, Genesis Healthcare, Inc. "Butte
Center" is registered with the Montana Secretary of State as an assumed name for Peak Medical Montana
Operations~ LLC ("PMMO"), Genesis Healthcare) Inc, ("Genesis"} is not tht:: sa1ne entity ~ PMM0 1 Gcnesls does
not operate as the ~'Butte Center" and did not provide the care atJssue. Genesis is a Delaware corporation, its
principal place of business is tn California, and it does not e-0nduct business in Montana. PMMO submits this
Answer given the "Butte Center" is identified as the d/bla in the caption, Upon information and belief, Genesis was
not served in this matter.

                                                     Peak Medical Montana Operations, LLC DIR/A Butte Center's
                                                     Answer to Plaintiffs' Complaint/Demond for J1uy Trial-Page 2
-.... -i

                  Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 12 of 41




           for themselves. PMMO fiuther denies any breach of the standard of care and any failure to have

           proper equipment or trained personnel to care for a morbidly obese resident. PMMO denies uny

           remaining allegations contained 1f 6.

                  8.      Admits Ms. Hill's remaillll were autopsied by Jaime Oeberst, M.D. PMMO

           denies the remaining allegations contained in 1f 7.

                                                        COUNT I

                  9.      Denies the allegations contained in Count 1.

                                                       COUNT II

                  10.     Denies the allegations contained in Count 2.

                                                      COUNT ill

                  11.     Denies the allegations contained in Count 3.

                                                      COUNT JV

                  12.     Denies the allegations contained in Count 4.

                                                       COUNTV

                  13.    Denies the allegations contained in Count 5.

                                                      COUNT VI

                  14.    Denies the allegations contained in Count 6.

                                            AFFIRMATIVE DEFENSES

                  1.     Plaintiffs fail to state a claim upon which relief can be granted.

                 2.      Plaintiffs' alleged damages are the result of aets or omissions of third parties over
           which PMMO has no control.

                 3.      Plaintiffs' damages, if any, were caused by Ms. Hill's own conduct.




                                                        Peak Medical Montana Operations, LLC DfBIA Butte Center's
                                                       Answer to Plaintiffs' Complaint/Demand for Jury Trial - Page 3
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       4.     Plaintiffs' alleged damages are the result of superseding and intervening causes

wholly unrelated to any alleged act, error or omission on the part of PMMO.

       5.     Any recovery by Plaintiffs should be reduced by amounts paid or payable from a

collateral source pursuant to Montana Code Annotated § 27-1-308.

       6.      Any recovery by Plaintiffs for non-economic damages is limited as set fotth in

Montana Code Annotated § 25-9-411.

       7.        Any recovery by Plaintiffs should be made as periodic payments as set forth in

Montana Code Annotated § 25·9-412.

       8.        PMivIO complied with all applicable standards of health care and was not

negligent as alleged in the Complaint.

       9.        Any negligence on the part of PMMO, which negligence is expressly denied, was

not a substantial contributing factor or proximate cause of the injuries and/or damages alleged in

the Complaint.

       10.       The comparative negligence of Ms. Hill equaled or exceeded that of PMMO, if

any, and was a proximate cause of Plaintiffs' and/or Ms. Hill's alleged injuries, which either bars

or diminishes Plaintiffs' recovery.

        11.      PMivIO has the right of contribution from any other person, including persons or

entities who have settled with or who have been released by Plaintiffs, whose negligence may

have contributed as a proximate cause to the injury claimed by Plaintiffs should Plaintiffs

recover against PMMO its provided by Montana Code Annotated § 27-1-703.

        12.      PMMO complied with all applicable statutes, rules and regulations.

        13.      Plaintiff Gina Jaeger has failed to state any olitlm on her own behalf individually.




                                               Peak Medical Montana Operations, LLC DIBIA Bulle Center's
                                               Answer to Plaintiffil' Complaint/Demand for Jury Trial . Page 4
         Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 14 of 41




        14,      Plaintiffs' claims are subject to a voluntary agreement by Ms. Hill to submit to

binding arbitration and is binding on any successors, therefore, the Court lacks jurisdiction over

the subject rnatte1'.

        15.      Plaintiffs' claims are subject to a voluntary agreement by Ms. Hill to submit to

binding arbitration and subject to the terms of that Agreement.

        16.      Ms. Hill waived the right to bring an action in Court.

        17.      "Butte Center" is not an assumed name of Genesis Healthcare, Inc.

        18.      Genesis Healthcare, Inc, is misidentified in the caption.

        19,      Under the circumstances and in accordance with the Rules of Civil Procedure, the

caption should be amended to correctly reflect the name of the Defendant as "Peak Medical

Montana Operations, LLC, d/b/a. Butte Center."

        20.      Plaintiffu have failed to properly identify Peak Medical Montana Operations,

TLC.

        21.      Plaintiffs have failed to plead the elements of constructive fraud with

particulaiity.

        22.      Plaintiffs have failed to set forth the circumstances allegedly constituting fraud,

        23.      Plaintiffs fail to state fact.• sufficient to constitute a cause of action for punitive or

exemplary damages.

        24.      Plaintiffs' Complaint, to the extent it seeks exemplary or punitive damages,

violates PMMO's due process rights under the 14th Amendment under the US. Constitution and

the Constitution for the State of Montana because oflack of sufficient standards governing such

damage awards.




                                                  Peak Medical Montana Operations, LLC DIBIA Butte Center's
                                                 Answer to Plaintiffs' Complaint/Demand for Jury Trial - Page 5
        Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 15 of 41




       25.     Plaintiffs' Complaint, to the extent it seeks exemplary or punitive damages,

violates PMMO's rights to protection from "excessive fines" as provided in the gth Amendment

to the U.S. Constitution and Art. II, SectionXXII of the Constitution for the State of Montana,

and violates PMMO's rights to substantive due processes provided in the 5th and 14"'

Amendments of the U.S. Constitution and the Constitution for the State of Montana, and,

therefore, fails to state a cause of action supporting such damages.

       26,     PMMO alleges that to permit recovery in respect to the matters herein alleged

would violate the provisions of the U.S. Constitution, Art. I, Section X.

       27.     PMMO alleges that to permit recovery in respect to the matters herein alleged

would violate the provisions of the U.S. Constitution, Amendments V, VII, VIII and XIV.

       28,     Butte Center is not an alter ego of Genesis Healthcare, Inc.

                      APPLICABILITY OF AFFIRMATIVE DEFENSES

       PMMO is not certain which affirmative defenses may apply at the time of trial and

reserves the right to add additional affinnative defenses throughout the course of discovery in

this case. PMMO will dismiss any affirmative defense at the final pre-trial conference diat does

not appear to be reasonably suppoited by the facts and/or law.

       WHEREFORE, PMMO requests the Court grant the following relief:

    1. Dismiss Plaintiffs' claims with prejudice;

    2. Order judgment in PMMO's favor;

    3, Award PMMO its reasonable attorney's fees and costs; and




                                             Peak Medical Montana Operations, LLC D/BIA Butte Center's
                                             Answer to Plaintiffs' Complaint/Demand for Jmy Trial - Page 6
                                                                                                       . . • -· -': i
        Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 16 of 41




    4. Any other such relief as the Court deems just and proper.

        Dated this 2"d day of June, 2016.




                                      By-t-::;;--T.'~\t!--:¥-~-""'
                                                         mith
                                      Attorneys for Peak Medical Montana Operations, Inc.,
                                      d/b/a Butte Center



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 2nd dny of June, 2016, I served a true and correct copy of the
foregoing document, by the means designated below, to the following:
[X] U.S. Mail                         Torger Oaas
[ ] FedEx                             Attorney at Law
[ J Hand-Delivery                     P.O. Box 76
[ ] Facsimile                         618 West Main, Suite 201
[ ] Email                             Lewistown, MT 59457
[X] U.S. Mail                         William E. Berger
[ ] FedEx                             Wilkins & Berger
[ ] Hand-Delivery                     P.O.Box506
[ ] Facsimile                         Lewistown, MT 59457
[ ) Email



                                        ~1:t=~-
                                             CROWLEY FLECK PLLP                           'C)




                                            Peak Medical Montana Oporations, LLC D/B/A Butto Center's
                                            Answor to Plaintiffs' Complalnt!Dema11d for Jury Trial -Page 7
              Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 17 of 41




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Attorneys for Peak Medical Montana Operations, LLC, d/b/a Butte Center




        MONTANA SECOND JUDICIAL DISTRICT COURT, SILVER BOW COUNTY

GINA JAEGER, individually, AND AS  )                 Cause No. DV-16-156
PERSONAL REPRESENTATIVE OF THE     )
ESTATE OF HER SISTER CHARLENE HILL,)
                                                 )
                 Plaintiff,                      )   MOTION FOR SUBSTITUTION OF
                                                )    JUDGE
        vs.                                     )
                                                )
GENESIS HEALTHCARE, INC., d/b/a THE             )
BUTTE CENTER, JOHN DOE LLC's 1-10;              )
JOHN DOE, INC,, 1-10                            )
                                                )
                 Defendants.                    )



        The undersigned hereby moves for substitution of District Judge Kurt Krueger in this
case.




                                              I Ci
                                                     EXHIBIT

                                                                            c                  y
• ." • ." ·•· •• · I



                                 Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 18 of 41




                               DATED this    znd   day of June, 2016.




                                                               ByJ.-_,,,,L.!~~::::'.____t_::~~-:---­
                                                                      Charles K. Smith
                                                               Attomeys for Peak Medical Montana Operations, LLC,
                                                               d!b/a Butte Center




                                                          CERTIFICATE OF SERVICE

                              I hereby certify that on the 2nd day of June, 2016, I served a true and correct copy of the
                       foregoing document, by the means designated below, to the following:

                       [X]   U.S. Mail                          Torger Oaas
                       [ )   FedEx                              Attorney at Law
                       [ ]   Hand-Delivery                      P.O. Box76
                       [ ]   Facsimile                          618 West Main, Suite 201
                       [ ]   Email                              Lewistown, MT 59457

                       [X] U.S. Mail                            William E. Berger
                       [ ] FedEx                                Wilkins & Berger
                       [ ] Hand-Deliveq                         P.O.Box506
                       [ ] Facsimile                            Lewistown, MT 59457
                       [ ] Email




                                                                                      Motion for Substitution of Judge - Page 2
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       MONTANA SECOND JUDICIAL DISTRICT COURT, SILVER BOW COUNTY

GINA JAEGER, individually, AND AS    )                 Cause No. DV-16-156
PERSONAL REPRESENTATIVE OF THE      )
ESTATE OF HER SISTER CHARLENE HILL,)
                                    )                  ORDER GRANTING
            Plaintiff,              )                  MOTION FOR SUBSTITUTION OF
                                    )                  JUDGE
     vs.                            )
                                    )
GENESIS HEALTHCARE, INC., d/b/a THE )
BUTTE CENTER, JOHN DOE LLC's 1-10;  )
JOHN DOE, INC., 1-10                )
                                                   )
               Defendants.                         )



       Upon consideration of the Motion of Defendant Peak Medical Montana Operations, LLC,

d/b/a Butte Center ("PMMO") and Genesis Healthcare, Inc. 's Motion for Substitution of Judge,

       IT IS HEREBY ORDERED that the Honorable
                                                        - - - - - - - - - - will sit in
the above-entitled matter in the place of Honorable Kurt Krueger.

       The Clerk is directed to provide a copy hereof to all counsel of record.

       DATED this _ _ _ day of _ _ _ _ _ _ _ _ , 2016.




                                             By:
                                                   --=---::------------
                                                     Ku rt Krueger

cc:   Kiely Keane
      Brett P. Clark
      Charles K. Smith
      Torger Oaas
      William E. Berger
                              Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 20 of 41
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                  LIMITED LIABILITY COMPANY OPERATING AGREEMENT
                                         OF
                       PEAK MEDICAL MONTANA OPERATIONS, LLC

                 This Limited Liability Company Operating Agreement (this "OperatingAgreemenf') of Peak
Medical Montana Operations, LLC, a Delaware limited liability company (the "Company"), is effective as of
February 2, 2015, by Peak Medical, LLC, as the sole memberofthe Company (together with any other Person
who hereafter becomes an additional or substitute Member, together with their successors and permitted
assigns, the ''Member").

                                            WITNES SE TH:

                WHEREAS, the Member wishes to enter into this Operating Agreementto set forth its rights,
obligations and duties with respect to the Company; and

                WHEREAS, capitalized terms used but not defined in this Operating Agreement shall have tl1e
meaning set forth on Schednle C hereto, which schedule is hereby incorporated into and made part of this
Operating Agreement by tlris reference.

               NOW, THEREFORE, in accordance with tl1e Delaware Limited Liability Company Act, as
amended from time to time (the "Acf'), the Member hereby agrees as folluws:

        !.      Name. The name of the limited liability company is:

                                Peak Medical Montana Operations, LLC

        2.      Term. The Company shall have perpetual existence, unless the Company is dissolved and its
business and affairs wound up in accordance with the provisions of this Operating Agreement or the Act.

         3.     Purnose. The nature of the business and purpose oftl1e Company shall be to engage solely in
the following activities (the "Company's Business"):

                        i.        To carry on any lawful business, purpose or activity relating to the leasing,
        management and operation of the skilled nursing and/or assisted living healthcare facility located at
        the location identified on Schedule A attached hereto (each a "Facility") pursuant to the license(s)
        issued to the Company by the applicable governmental authorities; and

                       ii.        To engage in any other lawful act permitted by the Act and approved by the
        Member.

        4.      Principal Business Office. The principal business office of the Company shall be located at
101 E. State Street, Kennett Square, Pennsylvania 19348, or such other location as may hereafter be
determined by the Member.

        5.      Intentionally Omitted.




                                                                                                        EXHIBIT

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       6.       Registered Agent. The name and address of the registered agent of the Company in the State
of Delaware is Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, DE, 19808.
The Member may change the registered agent in its discretion.

        7.      Certificates.

                 (a)     Articles. The Company was formed as a Delaware limited liability company under
the Act. The Member shall execute, deliver and file any other certificates and other filings (and any
amendments and/or restatements thereof) necessary or desirable for the Company to qualify to do business in
any jurisdiction in which the Company may wish to conduct business.

                  (b)      Certificate of Cancellation. The Company shall continue in existence as a separate
legal entity until dissolved and a Certificate of Cancellation is filed in accordance with Section 20 below.

        8.      Member. The Member is the sole member of the Company and, unless and until any
additfonal member(s) are admitted in accordance with the provisions ofthis Operating Agreement and the Act,
the Member shall receive all of the limited liability company interests ofthe Company. The name and business
address of the Member is set forth in Schedule B.

        9.      Management

                  (a)      Management of the Company Generally. (i) The Company's Business shall be
managed by or under the direction oftlie Member, and (ii) the Member shall have full and complete authority,
power and discretion to direct, manage and control the business, affairs and properties of the Company, to
make and/or delegate as the Member may elect all decisions regarding those matters and to perfom1 any and all
other acts or activities customary or incident to the management of the Company's Business. To the extent of
the powers, statutory or otherwise, held by the Member under the Act or set forth in this Operating Agreemen~
the Member is the agent of the Company for the purpose of the Company's Business, and the actions of the
Member taken in accordance with such powers shall bind the Company. In the event of any inconsistency
between any terms and conditions contafned in this Operating Agreement and any non-mandatory provisions of
the Act, the terms and conditions contained in this Operatfng Agreement shall govern, and in the event of any
inconsistency between any items and conditions contained in this Operating Agreement and any mandatory
provisions of the Act, the terms and conditions of the Act shall govern.

                 (b)      Authority to Bind the Company. Unless authorized to do so by this Operating
Agreement or by the Member, no attorney-in-fact, employee, officer or agent of the Company other than the
Member shall have any power or authority to bind the Company in any way, to pledge its credit or to render it
liable pecuniarily for any purpose.

                  (c)     Delegation. The Member may delegate at any time and from time to time its authority,
power and discretion hereunder and/or under the Act (or any portion thereof) to one or more officers of the
Company or such other Person designated by the Member. Tho Member is responsible for supervising the
officers or other representatives of the Company.

                 (d)     Manner of Acting. Whenever any Company action is to be taken by a vote of the
Member, it shall be authorized upon receiving the affirmative vote of the Member. Any action ofti1e Company
which may be taken at a meeting ofthe Member may be taken without a meeting by written consent upon the
execution of such consent by the Member.
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                (e)     Authority and Certain Powers of the Member. Without limiting the generality of
Section 9(a) above, the Member shall have power and authority, on behalf of the Company:

                      (i)     Acts, To do a:nd perform all acts as may be necessary or appropriate lo the
conduct of the Company's Business;

                         (ii)      Property. To purchase, hold, sell, excfiange, transfer and otherwise acquire
and dispose of and exercise all rights, powers, privileges and other incidents of ownership or possession with
respect to real and personal properly, whether tangible or intangible, held by the Company;

                      (iii)   Insurance. To purchase liability and other insurance to protect the Company's
property and the Company's Business;

                         (iv)    Loans. To borrow money and to execute and deliver documents and
instruments authorizing the confession of judgment against the Company;

                           (v)    Officers. To appoint from time to time such officers, committees, employees
or other agents as the Company's Business may require, each of whom shall hold office for such period, have
such authority, and perform such duties as are provided in this Operating Agreement, or as the Member may
from time to time determine. The Member may delegate to any committee the power to elect subordinate
officers and to retain or appoint employees or other agents, or committees thereof, and to prescribe the
authority and duties of such subordinate officers, committees, employees or other agents. The salaries or other
compensation of any other officers, employees and other agents shall be fixed from time to time by the
Member or the committee to which the power to elect such officers or to retain or appoint such employees or
other agents has been delegated pursuant to this Section 9;

                             (vi)    Documents. To execute, and to authorize Persons to execute, on behalf of the
Company all instruments and documents, including, without limitation, checks, drafts, notes and other
negotiable instruments, mortgages or deeds of trust, security agreements, financing statements, guaranties,
documents providing for the acquisition, mortgage or disposition of the Company's property, assignments,
deeds, bills of sale, leases, partnership agreements, operating agreements of other limited liability companies,
including without limitation, of any Affiliate, and any other instruments or documents necessary or advisable,
in the opinion of the Member, to the Company's Business;

                       (vii) Experts. To employ or otherwise engage, employees, accountants, legal
counsel, managing agents, or other experts or consultants to perform services for tl1e Company and to
compensate them from Company funds; and

                          (viii) Other Agreements. To authorize the entering into of any and all other
agreements on behalf oftl1e Company, with any other Person for any purpose, in such forms as the Member
may approve.

                  (f)      Reliance by Tl1ird Parties. Persons dealing with the Company are entitled to rely
conclusively upon a certificate of the Member to the effect that it is then acting on behalfofthe Company and
upon the power of the Member as herein set forth. Persons dealing with the Company shall be entitled to rely
on a certificate of any officer of the Company as conclusive evidence of the incumbency of any officer of the
Company and its authority to take action on behalf of the Company and shall be entitled to rely on a copy of
any resolution or other action taken by the Member, certified by any officer of the Company, as conclusive
                                  ' ' ... ;._   ... .'.:
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evidence of such action and of the authority of the officer referred to in such resolution or other action to bind
the Company to the extent set forth therein.

                 (g)       Limited Liabilitv.

                             ( i)      Management. The Member shall perform its managerial duties in good faith,
in a manner reasonably believed to be in the best interests of the Company, and wf!h such care and business
judgment as an ordinarily prudent person in a like position would use under similar circumstances. The
Member shall be fully protected in relying in good faith upon the records of the Company and upon such
information, opinions, reports or statements presented to the Company by any of its officers, employees or
committees of the Comp311y, or by any other person, as to matters the Member reasonably believes are within
such other person's professional or expert competence and who has been selected with reasonable care by or
on behalf ofthe Company, including information, opinions, reports or statements as to the value and amount of
the assets, liabilities, profits or losses of the Company or any other facts pertinent to the existence and amount
of assets from which distributions to the Member might properly be made.

                          (ii)      No Personal Liability. Except as otherwise expressly provided by the Act, the
debts, obligations and liabilities of the Company, whether arising in contract, tort or otherwise, shall be the
debts, obligations and liabilities solely of the Company, and the Member shall not be obligated personally for
any such debt, obligation or liability of the Company solely by reason of being a Member of the Company.

                        (iii)     Duty ofMember. The Member, acting in its capacity as the sale member of
the Company, shall not be liable to the Campany for money damages for breach of fiduciary duty except ta the
extent the Member could be held liable under the Delaware General Corporation Law if the Company were a
Delaware corporation and the Member were a director.

                (h)    Bank Accounts. The Member may from time to time open bank accounts in the n311Je
of the Company, and any officer of the Company designated by the Member, as may be determined from time
to time by the Member, shall be the sole signatory or signatories thereon, unless the Member determines
otherwise.

                (i)     Compensation. The Company shall reimburse the Member for its reasonable expenses
incurred in connection with its services to the CompaJ1y.

         l 0.    Officers.

                     (a)   Generally.

                        (i)     Number, Qualifications and Designation. The Me1nber may elect a president,
one or more vice presidents, a secretary and such other officers of the Company as may be elected in
accordance with the provisions of Section I O(b). The Member may elect a chairman, who also shall be an
officer of the Company. Officers shall be natural persons of full age. Any number ofoffices may be held by
tbe sa1ne person.

                           (ii)        Bonding. The Company may secure the fidelity of any or all ofits officers by
bond or otherwise.

                         (iii)   StaJ1dard of Care. Officers of the Company shall be subject to the same
standards of conduct, including standards of care and loyalty and rights of justifiable reliance, as shall at the
.   I                                                                                                                           .·.I
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        time be applicable to the Member of the Company under Section 9(g)(i) ofthis Operating Agreement and the
        Act.

                          (b)      Election. Term of Office and Resignations.

                                    (i)     Election and Term of Office. The officers of the Company, except those
        elected by delegated authority pursuant to Section l O(c), shall be elected by the Member, and each such officer
        shall hold office until a successor has been selected and qualified or until his or her earlier death, resignation or
        removal.

                                  (ii)     Resignations. An officer of the Company may resign at any time by giving
        written notice to the Company. The resignation of an officer shall be effective upon receipt ofsuch notice or at
        such later time as shall be specified in the11'tltice. Unless otherwise specified in the notice, the acceptance of
        the resignation shall not be necessary to make such resignation effective.

                         (c)     Subordinate Officers. The Member may from time to time also elect such other
        officers as the Company's Business may require, including one or more assistant secretaries, a treasurer and
        one or more assistant treasurers, each of whom shall hold office for such period, have such authority, and
        perform such duties as are provided in this Operating Agreement, or as the Member may from time to time
        detennine. The Member may delegate to any officer the power to elect subordinate officers and to retain or
        appoint employees or other agents, or committees thereof, and to prescribe the authority and duties of such
        subordinate officers, committees, employees or other agents.

                         (d)     Removal of Officers and Agents. Any officer or agent of the Company may be
        removed by the Member with or without cause. The removal shall be without prejudice to the contract rights,
        if any, of any person so removed. Election or appointment of any officer or agent shall not of itself create
        contract rights.

                          (e)     Vacancies. A vacancy in any office because of death, resignation, removal,
        disqualification, or any other cause may be filled by the Member.

                          (f)    Authority. All officers ofthe Company, as among themselves and the Company, shall
        have such authority and perform such duties in the management of the Company as may be provided by or
        pursuant to resolutions or orders of the Member or, in the absence ofcontrol!ing provisions in the resolutions
        or orders of the Member, as may be determined by or pursuant to this Operating Agreement. Without limiting
        the foregoing, officers of the Company shall each have such powers as generally pertain to their respective
        offices. The officers of the Company shall have the power and authority to enter into contracts and other
        agreements in the ordinary course of the Company's business.

                      (g)      The Chairman. The chairman, if t!1ere is one, shall preside at all meetings of the
        Company, and shall perform such other duties as may from time to time be requested by the Member.

                          (h)      The President. The president shall be the chief executive officer, if there is no
        chairman, and shall have general supervision over the Company's Business, subject, however, to the control of
        the Men1ber and the chainnan, ifthere is one. The president shall sign, execute, and acknowledge, in the name
        of the Company, deeds, mortgages, bonds, contracts and other instruments authorized by the Member or by this
        Operating Agreement, except in cases where the signing and execution thereof shall be expressly delegated by
        the Member or by this Operating Agreement to some other officer or agent of the Company; and, in general,
        shall perform all duties incident to the office of the president and such other duties as from time to time may be
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assigned by tile Member. In the case ofa vacancy in the office of chairman or the absence of the chairman, the
president shall preside at all meetings of the Company.

                  (i)    TI1e Vice Presidents. The vice presidents shall perform the duties of the president in
the absence of the president and such other duties as may from time to time be assigned to them by tl1e Member
or the president.

                 U)       The Secretary. The secretary or any assistant secretary shall attend all meetings ofthe
Company and all committees thereof; shall record all votes of the Member and the minutes of the meetings of
the Company and ofcommittees of the Company in a book or books to be kept for that purpose; shall see that
notices are given and records and reports properly kept and filed by the Company as required by law; and, in
general, shall perfurm all duties incident to the office of secretary and such other duties as may from time to
time be assigned by the Member or the president.

                 (k)    The Treasurer. The treasurer shall have or provide for the custody of funds or other
property of the Company; shall collect and receive or provide for the collection and receipt of moneys earned
by or in any manner due to or received by the Company; shall deposit all funds in its custody as treasurer in
such banks or other places of deposit as the Member may from time to time designate; shall, whenever so
required by the Member, render an account showing all transactions as treasurer and the financial condition of
the Company; and, in general, shall discharge such other duties as may from time to time be assigned by the
Member or the president.

                 (I)     Salaries. The salaries of the officers elected by the Member shall be fixed from time
to time by the Member or by such officer as may be designated by resolution of the Company. The salaries or
other compensation of any other officers, employees and other agents shall be fixed from time to time by the
officer to which the power to elect such officers or to retain or appoint such employees or other agents has been
delegated pursuant to Section IO(c). No officer shall be prevented from receiving such salary or other
compensation by reason ofthe fact that the officer is also a Member of the Company or an officer or employee
of a Member of the Company.

          11.     Capital Contributions. The Member has contributed to the Company the sum of$10.00 as its
initial capital contribution.

        12.      Additional Contributions. The Member is not required to make any additional capital
contributions to the Company.

         13.     Membership Interests Un-certificated. Limited liability membership interests in the Company
shall be Un-certificated.

         14.     Allocation of Profits and Losses, The Company's profits and losses shall be allocated to the
Member. The Member intends that tile Company be disregarded as an entity separate from its owner for
federal and state tax purposes.

        15.      Distributions. Distributions shall be made to the Member at the times and in the aggregate
amounts as determined by the Member. Such distributions shall be allocated to the Member. Notwithstanding
any provision to the contrary contained in this Operating Agreement, the Company shall not be required to
make a distribution to the Member on account of its interest in the Company if such distribution wou Id violate
the Act or any other applicable law.
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         16.       Transfer ofMembership Interest. The Member may transfer, sell, convey and assign, in whole
or in prut, its limited liability company interest in the Company as it may determine in its sole discretion. Any
permitted transferee shall be admitted to the Company as a member of the Company effective upon its
execution of an instrument signifying its agreement to be bom1d by the terms ru1d conditions of this Operating
Agreement, which instrument may be a counterprut signature page to this Operating Agreement. Any such
transferee may receive an interest in the Company without making a contribution or being obligated to make a
contribution to the Company. If a member transfers all of its limited liability company interest in the Company
pursuant to this Section 16, such member shall cease to be a member of the Company effective immediately
following consummation of such transfer aJJd the transferee's execution of an instrument signifying its
agreement to be bound by the terms ru1d conditions ofthis Operating Agreement. Notwithstanding anything in
this Operating Agreement to the contrary, any successor to the Member by merger or consolidation shall,
without further act, be the Member hereunder, and such appointment shall not constitute an assignment for
purposes of this Operating Agreement and the Company shall continue without dissolution.

         17.      Resignation of the Member. Any member of the Company may resign from tho Company at
anytime by giving thirty days' written notice to the CompaJJy. If the Member resigns pursuant to this Section
17, an additional member ofthe Company designated by the Member shall be admitted to the Company upon
its execution of an instrument signifying its agreement to be bound by tbe tenns and conditions of this
Operating Agreement, which instrument may be a counterprut signature page to this Operating Agreement.
Such admission shall be deemed effective immediately prior to the resignation and, immediately following
such admission, the resigning Member shall cease to be a member of the Company. If any member resigns
pursuant to this Section 17, it shall not have the right to receive any payment or other distribution at the time of
such resignation (including, without limitation, the fair value of its limited liability company interest), other
than any distribution to which such member is otherwise entitled, as of the date of resignation, to receive under
Section 15.

        18.      Admission of Additional Member(s). One or more persons may be admitted as additional
members of the Company from time to time with the consent of the Member. Each such person shall be
admitted as an additional member of the Company at the time such person (i) executes this Operating
Agreement or a counterprutofthis Operating Agreement (or an amendment and restatement of this Operating
Agreement which is also executed by all other members) and (ii) is nruned as a member of the Company on
Schedule B hereto or thereto. If the Company is or becomes taxable as a prutnership, the Member agrees to
cooperate in good faith to runend and restate this Operating Agreement in consideration of the applicable
partnership tax rules.

        19.      Indemnification.

               (a)        Definitions. For the purposes of this Section 19, the following terms shall have the
following meanings:

                           (i)     "Indemnified Capacity" means any and all past and present service by an
Indemnified Representative in one or 1nore capacities as a member, manager, officer, employee or agent ofthe
Company, or, at the request of the Company, as a member, 1nanager, director, officer, e1nployee, agent,
fiduciary or trustee of another limited liability company, corporation, partnership, joint venture, trust, employee
benefit plan or other entity or e11terprise.

                       (ji)    "Indemnified Representative'' means any and all n1embers, 1nanagers, officers,
employees and agents of the Compru1y and any person serving at the request of the Company, as a member,
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manager, director, officer, employee, agent, fiduciary or trustee of another limited liability company,
corporation, partnersl1ip, joint venture, trust, employee benefit plan or other entity or enterprise.

                        (iii)    "Liability" means any damage, judgment, amount paid in settlement, fine,
penalty, punitive damages, excise tax assessed with respect to an employee benefit plan, or cost or expense of
any nature (including, without limitation, reasonable attorneys' fees and disbursements).

                         (iv)    "Proceeding" means any threatened, pending or completed action, suit, appeal
or other proceeding of any nature, whether civil, criminal, administrative or investigative, whether formal or
informal, and whether brought by or in the right of the Company, a class of its members, or security holders or
otherwise.

                 (b)     Indemnification by the Company.

                           (i)     Expenses. Unless limited by the Articles, an Indemnified Representative who
has been successful, on the merits or otherwise, in the defense of any Proceeding, or in the defense of any
claim, issue or matter in the Proceeding, shall be indemnified against reasonable expenses actually incurred by
the Indemnified Representative in connection with the Proceeding, claim, issue or matter in which the
Indemnified Representative was successful.

                            (ii)      In General. The Company shall indemnify an Indemnified Representative
agahist any Liability actually and reasonably incurred in connection with any Proceeding in which the
Indemnified Representative may be involved as a party or otherwise by reason of the fact that such person is or
was serving in an Indemnified Capacity, including, without limitation, any Liability resulting from any actual
or alleged breach or neglect of duty, error, misstatement or misleading statement, negligence, gross negligence
or act giving rise to strict or products liability, except:

                                  (A)     where such indemnification is expressly prohibited by applicable
                                           law;

                                  (B)     where it has been fmally determined:

                                          (I)      that ti1e act or omission of the Indemnified Representative
                                                   was material to the matter giving rise to the Proceeding;
                                                   and

                                                   (i)     was committed in bad faith; or

                                                   (ii)    was the result of active and deliberate
                                                           dishonesty; or

                                           (2)     that the Indemnified Representative actually received an
                                                   improper perso11al benefit in 111oney, property or services;
                                                   or

                                          (3)      in the case of any criminal Proceeding, that the Indemnified
                                                   Representative had reasonable cause to believe that the act
                                                   or on1ission was unlawful; or
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                                   (C)      to the extent such indemnification has been finally determined in a
                                            final adjudication to be otherwise unlawfu L

                         (iii)    Partial Indemnification. If an Indemnified Representative is entitled to
indemnification in respect of a portion, but not all, of any Liability to which such Indemnified Representative
may be subject, the Company shall indemnify such Indemnified Representative to the maximum extent for
such portion of that Liability.

                          (iv)      Settlement. Except as provided in clause (v) below, the termination of a
Proceeding by judgment, order or settlement shall not create a presumption that the Indemnified Representative
is not entitled to indemnification.

                         (v)       Termination ofa Proceeding. The termination ofa Proceeding by conviction,
or a plea ofnolo contend ere or its equivalent, or an entry of an order of probation prior to judgment, creates a
rebuttable presumption that the Indemnified Representative is not entitled to indemnification.

                         (vi)     Successful Defense lndemnified. To the extent that an Indemnified
Representative of the Company has been successful on the merits orotherwise in defense of any Proceeding or
in defense ofauy claim, issue or matter therein, such Indemnified Representative shall be indemnified against
expenses (including attorneys' fees and disbursements) actually aud reasonably incurred by such lndenmified
Representative in conne(:tion therewith.

                 (c)     Proceedings Initiated by Indemnified Representatives. Nohvithstanding any otl1er
prov1s10n of this Section 19, the Company shall not indemnify under this Section 19 an lndemnitled
Representative for any Liability incurred in a Proceeding initiated (which shall not be deemed to include
counterclaims or affirmative defenses) or participated in as an intervenor or amicus curiae by such Indenmified
Representative seeking indemnification except for a proceeding brought to enforce indemnification under tl1is
Section 19 orunless such initiation of or participation in the Proceeding is authorized, either before or after irs
commencement, by the Member. This paragraph does not apply to reimbursement of expenses incurred in
successfully prosecuting or defending the rights of an Indemnified Representative granted by or pursuant to
this Section 19.

                  (d)      Advancing Expenses. The Company may pay the expenses (including reasonable
attorneys' fees and disbursements) incurred in good faitl1 by an Indemnified Representative in advance of the
final disposition of a Proceeding described in Section 19(b) or the initiation of or participation in such
Proceeding which is authorized pursuant to Section 19(c) upon receipt by the Company of (i) a written
affirmation by the Indemnified Representative of the Indemnified Representative's good faith belief that the
standard of conduct necessary for indemnification by the Company has been met; and (ii) of an undertaking by
or on behalf of the Indemnified Representative to repay the amount if it is ultimately determined that such
fndemnified Representative is not entitled to be indemnified by the Company pursuant to this Section 19. TI1e
financial ability of an Indemnified Representative to repay an advance shall not be a prerequisite to the making
of such advance.

                 (e)       Securing oflndemnification Obligations. To further effect, satisfy or secure the
indeinnification obligations provided in this Section I 9 or otherwise, the Company may malntain insurance,
obtain a letter of credit, act as self-insurer, create a reserve, trust, escrow, cash colJateraJ or other fund or
account, enter into indemnification agreements, pledge or grant a security interest in any assets or properties of
the Con1panyj or use any other 1nechanisn1 or arrangeinent whatsoever in such an1ounts, at such costs, and
upon such other terms and conditions as the Member shall deem appropriate. Absent fraud, the determination
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of the Member with respect to such amounts, costs, tenns and conditions shall be conclusive against the
present and future members ofthe Company and all security holders aud officers of the Company and shall not
be subject to voidability.

                (f)     Payment of Indemnification. An Indemnified Representative shall be entitled to
indemnification within 30 days after a written request for indemnification has been delivered to the secretary of
the Company. The indemnification pursuant to this Section 19 shall be made only from the assets of the
Company and no Member shall be personally liable therefor.

                 (g)     Contract Rights; Amendment or Repeal. All rights under this Section 19 shall be
deemed a contract between the Company and each Indemnified Representative pursuant to which the Company
and each Indemnified Representative intend to be legally bound. Any repeal, amendment or modification
hereof shall be prospective only and shall not affect any rights or obligations then existing.

                  (h)     Scope of this Section. The rights granted by this Section 19 shall not be deemed
exclusive of any other rights to which those seeking indemnification or advancement of expenses may be
entitled under any statute, agreement or otherwise, both as to action in an Indemnified Capacity and as to
action in ony other capacity. The indemnification and advancement of expenses provided by or granted
pursuant to this Section 19 shall continue as to a person who has ceased to be an Indemnified Representative in
respect of matters arising prior to such time, and shall inure to the benefit ofthe heirs, executors, administrators
and personal representatives of each such person.

                 (i)     Reliance on Provisions. Each person who shall act as an Indemnified Representative
shall be deemed to be doing so in reliance upon the rights of indemnification and advancement of expenses
provided by this Section 19.

         20.     Dissolution.

                   (a)      In General. The Company shall be dissolved, and its affairs shall be wound up upon
the first to occur of the following: (i) the termination of the legal existence of the last remaining member of the
Company or the occurrence of any other event which terminates the continued membership of the last
remaining member of the Company in the Company unless the Company's Business is continued in a manner
permitted by this Operating Agreement or the Act, (ii) the determination of the Member to dissolve the
Company or (iii) the entry of a decree of judicial dissolution under the Act.

               (b)     Bankruptcy or Insolvency of Member. Notwithstanding any other provision of this
Operating Agreement or the Act, the bankruptcy or insolvency of any member of the Company shall not cause
such member to cease to be a member of the Company and upon the occurrence of such an event, the
Company's Business shall continue without dissolution.

                 (c)     Company Waiver. Notwithstanding any other provision of this Operating Agreement
or the Act, each member of the Company waives ony right it might have to agree in writing to dissolve the
Company upon the bankruptcy or insolvency of such member or any other member of the Company or the
occurrence of any other event that causes such member or any other member of the Company to cease to be a
member of the Company.

                  (d)      Winding Up of the Company. In the event of dissolution, !lie Company shall conduct
only such activities as are necessary to wind up its affairs (including the sale of the assets of rl1e Company in an
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orderly manner), and the assets of tho Company shall be applied in tho manner, and in the order of priority, set
forth in the Act.

                  (e)       Termination of the Company's Existence. The Company shall terminate when (i) all
of the assets of the Company, after payment ofor due provision for all debts, liabilities and obligatiuns of the
Company shall have been distributed to the Member in the manner provided for in this Operating Agreement
and (ii) the Articles shall have been dissolved and canceled by tl1e filing of a Certificate of Cancellation in the
manner required by the Act.

         21.      Inuremenr. 111is Operating Agreement shall be binding on, and inure to the benefit of, all
parties hereto, their successors and assigns to the extent, but only to the extent, that assignment is made in
accordance with, and permitted by, the provisions of this Operating Agreement.

         22.      Severability of Provisions. Each provision of this Operating Agreement shall be considered
severable and iffor any reason any provision or provisions herein are detennined to be invalid, unenforceable
or illegal under any existing or future law, such invalidity, unenforceability or illegality shall not impair the
operation of or affect those portions of this Operating Agreement which are valid, enforceable and legal.

        23.      Entire Agreement. This Operating Agreement constitutes the entire agreement of the parties
with respect to the subject matter hereof.

       24.     Amendments. This Operating Agreement may be amended from time to time by a written
agreement executed by the Member.

         25.      Governing Law. This Operating Agreement shall be governed by, and construed under, the
laws of the State of Delaware (without regard to its conflicts of laws principles), all rights and remedies being
governed by said laws.

        26.      Construction. Whenever the context requires, references in this Operating Agreement to the
singular number shall include the plural, and words denoting gender shall include the masculine, feminine and
neuter. The recitals above and the schedules attached hereto are true, correct and complete in all respects and
are hereby made a part of this Operating Agreement and are deemed incorporated herein in full.

         27.      Headings. The headings in this Operating Agreement are for convenience only and are in no
way intended to describe, interpret, define or limit the scope, extent or intent of this Operating Agreement or
any of its provisions.

       28.      Waiver. The failure of any party to seek redress for violation of, or to insist upon the strict
performance of, any covenant or condition oftl1is Operating Agreement shall not prevent a subseque11t act that
would have originally constituted a violatio11 from having the effect of an original violation.

         29.     Cumulative Remedies. The rights and remedies provided under this Operating Agreement are
cumulative and the use of any one right or remedy by any party shall not preclude or waive the right of such
party to use any or all other remedies. Such rights and remedies are given in additio11 to a11y other rights the
parties may have by law, statute, ordinance or otherwjse.

        30.     Notices. Any notices required to be delivered hereunder shall be in writing and personally
delivered, mailed by registered or certified mail, return receipt requested, postage prepaid, or delivered to a
recognized overnight oourier service with guaranteed next day delivery or sent by telecopy, electronic mail or
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other similar form of rapid transmission (with confirmation received), and shall be deemed to have been duly
given upon receipt(a) in the case ofthe Company, to the Company at its address in Section 4, (b) in the case of
any member of the Company, to such member at its address as listed on Schedule Band (c) in the case of
either of the foregoing, at such other address as may be designated by written notice to the other party.

        31.      Counteroarts. This Operating Agreement may be executed in two or more counterparts, each
of wllich shall be deemed an original but all of which shall constitute one and the same instrument. Any
signature delivered by electronic or facsimile transmission shall be deemed to be an original signature page to
this Operating Agreement.




                                         [Signature Page Follows]
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                TN WITNESS WHEREOF, the undersigned, intending to be legally bound hereby, has
duly executed this Operating Agreement as of the date first written above.

                                       SOLE MEMBER

                                       Peak Medical, LLC


                                       By:        I~\
                                             --./..'    <1, ..-\J'l........,,,_____
                                                        ··-..;).,\..s,l "
                                             Name: Michael S. Shennan
                                             Title: Secretary
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           Case 2:16-cv-00030-SEH Document 1-1 Filed 06/10/16 Page 34 of 41




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                                                           Schedule A

                                              Peak Medieal Montana Operations, LLC

Facility

Butte Center
2400 Continental Drive
Butte, MT 5970 I

Whitefish Care and Rehabilitation Center
1305 E. Seventh Street
Whitefish, MT 59937
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                                  ScheduleB

                     Peak Medical Montana Operations, LLC

                                 Sole Member

          Name               Mailing Address         Agreed Value of   Percentage
                                                         Capital        Interest
                                                      Contribution
Peak Medical, LLC     101 East State Street         $10.00               100%
                      Kennett Square, PA 19348
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                                                  Schedule C

                                 Peak Medical Montana Operations, LLC

                                                  Definitions

"Affiliate" shall mean as to any Person any other Person that directly or indirectly through one or more
intermediaries controls, is controlled by, or is under common control with such first Pen;on.

"Control" (including, with correlative meanings, the terms "controlled by" and "under common control with")
means the ownership or control of securities possessing at least 50% of the voting power of all outstanding
voting securities of a Person or the power to otherwise direct or cause the direction of the management, policies
and/or decision making of such a Person, whether through the ownership of voting stock or similar rights or
otherwise.

''Person" shall mean any individual, limited liability company, COIJlOration, partnership, joint venture, !Just,
employee benefit plan or other entity, and the heirs, executors, administrators, legal representatives, successors
and assigns of such Person as the context may require.


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Business Entity Search - Montana Secretary of State




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    }) Search Again                                                                  long for the database or is listed in this system tw"ice. The asterisk is not usually
                                                                                     part of the name. If you need an exact name. such as for legal process, please e-
          searoo       j                                                             mail the Secretary of State for further information at sos@mtgcv.
     ···-·-··"·---····.J




   Principal Information

   Position    Name                                                                   Address
   CORPORATION PEAK MEDICAL MONTANA OPERATIO*                                         101 ESTATE ST KENNETT SQUARE                                   PA 19348




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           DEC Z 4 Z015
               MMl.P

                  MONTANA THIRD JUDICIAL DISTRICT COURT,
                             DEER LODGE COUNTY


         fN THE MATTER OF THE ESTATE OF                       •
                                                             •
         CHARLENE HILL,                                      •      Pl'Dbll'.e No. DP-2015-   5t
                                                             *
                                  Deceased.                  •
                                                  LETTERS



         THE INTESTATE ESTATE OF CHARLENEHJLL

         Having beeu admitted to probate, and:            GINA JAEGER
                                                          812 W. Spring
                                                          Lewistown, MT ;9457

         Appointed as Personal Representative of said intesrate estate, by Order in U1e above
         proceeding. date the   ~ +l'I\. day of December, 20 l 5.
                LETTERS OF APPOINTMENT, as such Personal Representative, are hereby
        issued as provided by law.

                Wl'!NESS, the Clerk of the above-named Court and the Seat of the Court affixed
             njf\
        this _"_l_day of December, 2015.


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         (COLIR'I Sf:Al)




        STA TE OF MONTANA
                                          : SS
        COUNTY or FEROUS                  )

                   I, GINA JAEGER, hereby accept !Ii<: dulie; of Pcrso11al Representative of the

       Estate of CHARLENE HfLL, dcccasc'd. and do solemnly swear that I will perfom1,

       ""'Ord in~ to law, the duties of Personal Representaclve of the Estate of CHARLENE
       KILL. de"ensed.

                  B)' signing, accepting. or acting under this appointment. I acknowledge that 1

       will Hssume the duties and responsibilide< of a fiduciary and that I mus1 wMk

      exdusiwly for tho be11el'it or' the decedent's estate and its benetkial'ics.                    I also

      ack110\\'ledge tha1 tho primary du1y of n personal repr<senmtfre is tha duty of loyalty to

      uml protection of the be>I interests ot'tbe mine. Therefore. 1 ack11owledge tbar:

                  I may not use any of the property or other asseL< of the decedent's estate for my
      l)\\11   personal benefit;

                 I must direct any benefit deril'ed from this appoi11tmem to the decedom's estate;
     and

                 I niust Rvoid conflicts or interest an<l must use ordinary skill and prudence in




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                          carrying ou1 the dL1tie$ of this appointment.




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